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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )            Case No. 8:04CR313
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                     ORDER
                                               )
JOSE LUIS BRAVO-LOPEZ,                         )
                                               )
                       Defendant.              )


       IT IS ORDERED that a change of plea for the defendant, Jose Luis Bravo-Lopez, is
scheduled before the undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on July 8, 2005, at 9:00 a.m. Since this is
a criminal case, the defendant shall be present, unless excused by the court. If an interpreter is
required, one must be requested by the plaintiff in writing five (5) days in advance of the scheduled
hearing.
       DATED this 27th day of May, 2005.
                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
